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ORAL ARGUMENT OF THIS APPEAL IS SET FOR NOVEMBER 20, 2023
               ON AN EXPEDITED BASIS

                          Case No. 23-3190
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
__________________________________________________________________

UNITED STATES OF AMERICA,
                                 Plaintiff-Appellee,
                      v.
DONALD J. TRUMP,
                                Defendant-Appellant.
               _______________________________________

             On Appeal From The United States District Court
                     For The District Of Columbia
__________________________________________________________________

AMICUS BRIEF OF CHRISTIAN FAMILY COALITION (CFC) FLORIDA,
  INC., A NONPROFIT CORPORATION, IN SUPPORT OF APPELLANT
DONALD J. TRUMP AND THE MOOTING OF THIS APPEAL THROUGH
  THIS COURT’S USE OF ITS PENDENT APPELLATE JURISDICTION
        TO ADDRESS DISPOSITIVE CONSTITUTIONAL ISSUES
_________________________________________________________________


Dated: November 15, 2023        LAW OFFICE OF DENNIS GROSSMAN
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              CORPORATE DISCLOSURE STATEMENT AND
                 STATEMENT IDENTIFYING PARTIES

       Amicus Christian Family Coalition (CFC) Florida, Inc., is a nonprofit

corporation which has no parent corporation. No publicly held corporation or

other public entity owns 10% or more of Amicus’s ownership interest.

       General Nature and Purpose: Amicus is a human rights and social justice

advocacy organization representing over 500,000 fair-minded voters.          Amicus

actively seeks to protect human rights and social justice in litigation and political

forums.    The performance of Amicus’s function in legislative and executive

forums depends upon the responsiveness of the political process and, in turn, upon

the ability of public figures including the President to communicate freely with the

public without fear of criminal liability for speech which a prosecutor deems

“knowingly false.” This is indispensible to the integrity and responsiveness of the

political processes upon which Amicus depends to protect human rights and social

justice.

       Parties: The parties in the District Court and in this Court are the United

States of American and Donald Trump. The District Court denied leave for amicus

filings.

                                             /s/ Dennis Grossman
                                                 Dennis Grossman
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AMICUS BRIEF OF CHRISTIAN FAMILY COALITION (CFC) FLORIDA,
             INC., A NONPROFIT CORPORATION

      The Christian Family Coalition (CFC) Florida, Inc. (“Amicus”), hereby

submits its Amicus Brief in support of Appellant Donald J. Trump and the exercise

of this Court’s Pendent Appellate Jurisdiction to address the constitutionality of the

underlying indictment. Amicus respectfully submits that the indictment on its face

violates the First Amendment to the U.S. Constitution and the Immunity of a then-

sitting President and that the exercise of this Court’s Pendent Appellate

Jurisdiction to address these dispositive constitutional issues is consistent with the

parameters of this jurisdictional doctrine and the constitutional interests at stake.

Amicus addresses these issues in this Amicus Brief and respectfully requests that

this Court direct the parties to brief the issues of Pendent Appellate Jurisdiction

and the constitutionality of the indictment under the First Amendment and the

protections of Presidential Immunity.

   A. STATEMENT IDENTIFYING THE AMICUS AND ITS INTEREST

      The Amicus, Christian Family Coalition (CFC) Florida, Inc. (“Amicus”), is

a nonprofit Florida corporation. Amicus is a human rights and social justice

advocacy organization representing over 500,000 fair-minded voters.          Amicus

actively seeks to protect human rights and social justice in litigation and political

forums.   The performance of Amicus’s function in legislative and executive

forums depends upon the responsiveness of the political process and, in turn, upon
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the ability of public figures including the President to communicate freely with the

public without fear of criminal liability for speech which a prosecutor deems

“knowingly false.” This is indispensible to the integrity and responsiveness of the

political processes upon which Amicus depends to protect human rights and social

justice.

       The indictment in the present case seriously impairs the political process by

making Presidential speech criminal if a prosecutor deems it to be “knowingly

false.” The indictment is a violation of the First Amendment and Presidential

Immunity which Amicus has an interest in challenging in this appeal through this

Court’s exercise of its Pendent Appellate Jurisdiction which authorizes this Court

to address the indictment directly and to order its dismissal as a violation of the

First Amendment and/or Presidential Immunity, as shown in this Amicus Brief.

       The source of Amicus’s authorization to file this Amicus Brief is its Founder

and Executive Director Anthony Verdugo.

   B. STATEMENT REGARDING CONTROL OVER AMICUS BRIEF

       No party, counsel for any party, or other representative or agent of any party

in this case authored any part of this Amicus Brief or exercised any form of control

or approval over this Amicus Brief or any portion of it. No party, counsel for any

party, or other person or entity, aside from Amicus or its counsel, made a monetary

or other contribution to the preparation or submission of this Amicus Brief.


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      C. ARGUMENT

       Amicus initially addresses the First Amendment violations in the underlying

indictment, followed by the reasons why Pendent Appellate Jurisdiction is

appropriate to reach these First Amendment issues and to dismiss the indictment

on First Amendment grounds.

       Finally, Amicus addresses Presidential Immunity and the reasons why

Pendent Appellate Jurisdiction is appropriate reach the Immunity Issue and to

dismiss the indictment on this ground as well.

             1.       The First Amendment Violations in the Underlying Indictment

       The underlying indictment broadly accuses Defendant of several felonies on

the ground that his speech and communications in challenging the results of the

2020 Presidential election were “knowingly false.” The indictment enumerates

and details numerous instances of Presidential statements to the public and to

election officials.    The center piece and pivot point of the indictment are its

allegations that Defendant “knew” he lost the election but nevertheless made

contrary statements to the public and to election officials that the election was

stolen which, according to the indictment, were “knowingly false” (Indictment ¶

7).

       Building on this allegation that the Defendant’s statements challenging the

election were “knowingly false,” the indictment charges Defendant with four


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felonies – an alleged conspiracy to “defraud the United States” (Count 1), and to

obstruct an official proceeding (Counts 2-3), and to deprive voters against him of

their right to vote (Count 4).

      The indictment’s apparent violations of the First Amendment are several.

First, the indictment takes an inflexible position on a hotly contested political issue

(the fairness of the 2020 Presidential election) and criminalizes those who

“knowingly” disagree. The issue of whether the 2020 Presidential election was

fair-vs.-stolen was, and still is, hotly disputed and the focus enormous sustained

political controversy. The First Amendment does not permit either side to dictate

the “truth” but permits each side to present its arguments in the marketplace of

ideas. Neither criminal prosecutors nor anyone else may dictate what is orthodox,

established, or “truthful” in the political arena. The Supreme Court 80 years ago,

in what is still good law, admonished that under the First Amendment “no official,

high or petty, can prescribe what shall be orthodox in politics, nationalism,

religion, or other matters of opinion or force citizens to confess by word or act

their faith therein.” West Virginia State Board of Education v. Barnette, 319 U.S.

624, 642 (1943).

      Second, the indictment does not permit the required “breathing space” for

expression protected by the First Amendment. It is well established that First

Amendment freedoms require “breathing space” to survive and may not be


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hampered or restrained by criminal laws that deter free expression. Americans for

Prosperity Foundation v. Bonta, 141 S.Ct. 2373, 2384 (2021) (“First Amendment

freedoms need breathing space to survive”); Keyishian v. Board of Regents, 385

U.S. 589, 604 (1967) (“Because First Amendment freedoms need breathing space

to survive, government may regulate in the area only with narrow specificity”).

The indictment does not permit the required “breathing space.” It criminalizes

speech based on fragile and fickle factual disputes over whether the Defendant’s

speech was “knowingly false.”            The required “breathing space” for First

Amendment freedoms may not be so narrow and fragile as to depend upon a case-

by-case factual disputes over whether speech was “knowingly false.”             The

potential for prosecutorial abuse is limitless.

       Third, the criminalization of otherwise protected speech if a criminal

prosecutor deems it “knowingly false” – which involves a factual dispute and

requires a criminal trial – unduly chills free speech and forces speakers into

impermissible self-censorship. Ashcroft v. American Civil Liberties Union, 542

U.S. 656, 670-671 (2004) (“There is a potential for extraordinary harm and a

serious chill upon protected speech” because “speakers may self-censor rather than

risk the perils of trial”).

       Fourth, the indictment improperly seeks to create new categories of

exceptions to First Amendment protection. Instead of tailoring its focus on well-


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established and narrow categories of criminality for utterances, the indictment

makes broad sweeping allegations that Defendant’s “knowingly false” speech was

part of a wide-ranging conspiracy to “defraud the United States” (Count 1), and to

obstruct an official proceeding (Counts 2-3), and to deprive voters against him of

their right to vote (Count 4). These are new categories of alleged criminality for

the specific speech attributed to Defendant. The First Amendment does not permit

the government to criminalize new categories of speech such as “knowingly false”

claims” of election rigging. United States v. Alvarez, 567 U.S. 709, 717-718

(2012) (“[C]ontent-based restrictions on speech have been permitted, as a general

matter, only when confined to the few ‘historic and traditional categories of

expression long familiar to the bar.’… Among these categories are advocacy

intended, and likely, to incite imminent lawless action … obscenity … defamation

… speech integral to criminal conduct … so-called ‘fighting words’ … child

pornography … fraud … true threats … and speech presenting some grave and

imminent threat the government has the power to prevent…. These categories

have a historical foundation in the Court's free speech tradition.”); Brown v.

Entertainment Merchants Assoc., 564 U.S. 786, 791 (2011) (“new categories of

unprotected speech may not be added”); United States v. Stevens, 559 U.S. 460,

468, 467 (2010) (“From 1791 to the present … the First Amendment has permitted

restrictions upon the content of speech in a few limited areas, and has never


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included a freedom to disregard these traditional limitations. These historic and

traditional categories [are] long familiar to the bar … including obscenity …

defamation … fraud … incitement … and speech integral to criminal conduct”;

emp.added).

      This is not an exhaustive list of the First Amendment violations posed by the

underlying indictment.     Within the narrow confines of this Amicus Brief –

requesting the use of this Court’s Pendent Appellate Jurisdiction to reach the

invalidity of the indictment in this appeal – the above discussion shows ample

grounds for invoking this jurisdictional prerogative and for directing the parties to

brief it and the constitutional violations posed by the underlying indictment.


              2.   The Exercise of this Court’s Pendent Appellate Jurisdiction to
                   Address the Constitutional Validity of the Underlying
                   Indictment is Appropriate Because the Issues Involved in its
                   Validity are Inextricably Intertwined with the Issues on Appeal


      This Court’s Pendent Appellate Jurisdiction Permits this Court to address the

constitutionality vel non of the underlying indictment under the Doctrines of

Presidential Immunity and Presidential Rights of Speech and Petition under the

First Amendment.

      Under this Court’s Pendent Appellate Jurisdiction, this Court may review

nonappealable orders or the underlying legal merits of a case when reviewing the

appealable order now before this Court on interlocutory review. This is permitted
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“when the nonappealable order is inextricably intertwined with the appealable

order or when review of the former is necessary to ensure meaningful review of the

latter.” Harris v. Medical Transportation Management, Inc., 77 F.4th 746, 765

(D.C.Cir. 2023). “[S]ubstantial considerations of fairness or [judicial] efficiency”

are factors which militate in its favor. Gilda Marx, Inc. v. Wildwood Exercise,

Inc., 85 F.3d 675, 678-679 (D.C.Cir. 1996), quoted in Harris, supra, 77 F.4th at

765; see also Swint v. Chambers County Commission, 514 U.S. 35, 51 (1995)

(when the two issues are “inextricably intertwined … [or when] review of the

[nonappealable] decision was necessary to ensure meaningful review of the

[appealable decision”).

      The Supreme Court in Swint made clear that the “inextricably intertwined”

requirement does not require an absolute and complete identity of issues in the

appealable and nonappealable orders. It merely requires a substantial and essential

linkage between the issues to make the appealable and nonappealable orders

“inextricably intertwined” and thus appropriate for the exercise of Pendent

Appellate Jurisdiction. The Supreme Court in Swint cited with approval its own

precedent where, in numerous cases, it had approved the exercise of Pendent

Appellate Jurisdiction over nonappealable issues on appeal where the

nonappealable issues bore a substantial linkage with the primary issues on appeal




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without there being a mirror-image identity of the two sets of issues. Thus the

Supreme Court in Swint recounted with approval:

      “Thornburgh v. American College of Obstetricians and Gynecologists, 476
      U.S. 747, 755–757 (1986) (Court of Appeals reviewing District Court's
      ruling on preliminary injunction request properly reviewed merits as well);
      Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 172–173 (1974) (Court of
      Appeals reviewing District Court's order allocating costs of class notification
      also had jurisdiction to review ruling on methods of notification); Chicago,
      R.I. & P.R. Co. v. Stude, 346 U.S. 574, 578 (1954) (Court of Appeals
      reviewing order granting motion to dismiss properly reviewed order denying
      opposing party's motion to remand); Deckert v. Independence Shares Corp.,
      311 U.S. 282, 287 (1940) (Court of Appeals reviewing order granting
      preliminary injunction also had jurisdiction to review order denying motions
      to dismiss). Cf. Schlagenhauf v. Holder, 379 U.S. 104, 110–111 (1964)
      (Court of Appeals exercising mandamus power should have reviewed not
      only whether District Court had authority to order mental and physical
      examinations of defendant in personal injury case, but also whether there
      was good cause for the ordered examinations).”

Swint v. Chambers County Commission, supra, 514 U.S. at 50 (reviewing cases

where the Supreme Court had upheld the exercise of Pendent Appellate

Jurisdiction).

      The consistent theme in these cases is that the exercise of Pendent Appellate

Jurisdiction does not depend upon an absolute mirror-image identity in the issues

under review but simply depends upon a substantial overlap and essential linkage

between them which makes the appealable and nonappealable issues “inextricably

intertwined.” Thus in Thornburgh, as recounted in Swint, the Supreme Court

upheld review of the underlying merits of a case in an appeal involving primarily a

preliminary injunction. The two issues in Thornburgh were not identical but were
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interrelated and substantially overlapped in their areas of inquiry which made them

“inextricably intertwined.” So too in Eisen, as recounted in Swint, the Supreme

Court upheld the review of the underlying class-action notice in an appeal which

involved primarily the allocation of costs in serving the class-action notice. Again,

the two issues in Eisen were not identical but substantially overlapped in their

areas of inquiry which again made them “inextricably intertwined.”

      The same occurred in Stude, also recounted by the Supreme Court in Swint.

In Stude, the Supreme Court upheld review of a remand order in an appeal

involving primarily a dismissal order.      Once again, the two issues were not

identical but bore a substantial linkage and overlap in their areas of inquiry which

made them “inextricably intertwined” and thus appropriate for Pendent Appellate

Jurisdiction. So too in Decker, also recounted by the Supreme Court in Swint. In

Decker the Supreme Court approved review of an order denying a motion to

dismiss where the primary issue on appeal involved a preliminary injunction.

Once again, the two issues were not identical but clearly involved overlapping

areas of inquiry which made them “inextricably intertwined” and appropriate for

Pendent Appellate Jurisdiction.

      Lastly, in Schlagenhauf v. Holder, the final case cited in Swint in this

sequence, the Supreme Court again approved review of a pendent non-identical

issue. The Supreme Court approved appellate review of the “good cause” for a


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discovery order where the primary issue before the Court of Appeals was the

underlying authority to issue the discovery order in the first place. As in the other

cases recounted above in Swint, the two issues on review in Schlagenhauf v.

Holder were not identical but bore a substantial relationship and overlapping areas

of inquiry which made them “inextricably intertwined.”

      Other Supreme Court decisions agree. Above and beyond the many cases it

cited in Swint, supra, the Supreme Court has consistently permitted the exercise of

Pendent Appellate Jurisdiction to review a pendent issue on appeal that was not

identical to the appeal’s primary issue but was substantially related to it with

overlapping areas of inquiry. See Youngstown Sheet & Tube Co. v. Sawyer, 343

U.S. 579, 585 (1952) (Court reviews constitutional merits underlying official

action on an appeal which primarily raised abuse-of-discretion issue concerning a

preliminary injunction); and see Smith v. Vulcan Iron Works, 165 U.S. 518, 525

(1897) (Court reviews underlying merits of a patent on an appeal which raised

primarily issues concerning a preliminary injunction).

      The same result obtains here. Here, the First Amendment issues involved in

the order under review are “inextricably intertwined” with the First Amendment

issues raised by the underlying indictment. The issues may not be absolutely

identical, but they involve the same First Amendment rights and interests of a

sitting President in his efforts to gain re-election, the same or similar effects on


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Presidential election campaigns, the same First Amendment case law, the same

overlapping areas of inquiry, and are substantially related in context and effect.

Both involve the President’s attempts to gain re-election and his First Amendment

rights to address his supporters and the decision-makers who control or certify his

re-election – whether the decision-makers are the popular electorate whom the

President seeks to address in his First Amendment challenge against the present

order on appeal or were the State and federal officials responsible for counting and

certifying the 2020 election results whom the same President sought to address

giving rise to the underlying indictment and his First Amendment challenge to it.

The interrelationship and linkage between the First Amendment issues and

interests in both instances – and the similar contexts of Presidential re-election

campaigns (in 2020-2021 and 2023-2024) – clearly show that the First Amendment

issues raised by the underlying indictment (President’s re-election efforts in 2020-

2021) are “inextricably intertwined” with the First Amendment issues raised by the

order now primarily under review (President’s present 2023-2024 re-election

campaign).    Indeed, it is a virtual guarantee that the same First Amendment

arguments and jurisprudence cited in the parties’ briefs in the present appeal will

also be cited and used in addressing the validity of the underlying indictment.

      In short, this Court’s jurisdiction to review the present order on appeal and

the First Amendment issues it raises gives this Court Pendent Appellate


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Jurisdiction to review the “inextricably intertwined” First Amendment issues raised

by the underling indictment.

      The Supreme Court’s decision in Abney v. U.S., 431 U.S. 651 (1977), is not

to the contrary.   In Abney the Supreme Court disallowed Pendent Appellate

Jurisdiction over an appeal from the validity of an underlying indictment when

considering an appeal which primarily raised a double-jeopardy bar. The Supreme

Court in Abney made clear that although the jeopardy issue was immediately

appealable, the issues involved in the validity of the underlying indictment were

separate and distinct from the jeopardy issues. Indeed, the jeopardy argument in

Abney had nothing to do with the validity of the underlying indictment but rather

concerned only an alleged relationship with a prior criminal proceeding. Thus the

Supreme Court in Abney held that Pendent Appellate Jurisdiction was not

appropriate to assess the validity of the underlying indictment when considering

the appealable jeopardy issues. Abney, 431 U.S. at 661 (the double-jeopardy

clause “protects interests wholly unrelated to the propriety of any subsequent

conviction”).

      That is not the situation here. Here, unlike Abney, the issues are not separate

and distinct but are critically inter-related.     As discussed above, the First

Amendment issues raised in the present appeal are closely related to and overlap

with the First Amendment issues raised by the underlying indictment.              As


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discussed above, an absolute identity of issues is not required. The issues here are

“inextricably intertwined” and appropriate for Pendent Appellate Jurisdiction

because the contexts and First Amendment jurisprudence and issues in both

situations overlap and are inter-related. They concern a President’s ability to

address his supporters and the decision-makers who certify and control his re-

election. The First Amendment jurisprudence and case law are the same, as is the

primordial context of a Presidential candidate’s ability to exercise his First

Amendment freedoms in his attempt to gain re-election. Simply stated, Pendent

Appellate Jurisdiction is appropriate here which is clearly distinguishable from the

situation in Abney.


             3.       The Exercise of this Court’s Pendent Appellate Jurisdiction to
                      Address the Constitutional Validity of the Underlying
                      Indictment is Appropriate in the Interests of Judicial Economy
                      and the Avoidance of Potentially Unnecessary Political Torture
                      for the Country


      Both this Court and the Supreme Court have underscored that the exercise of

Pendent Appellate Jurisdiction is appropriate when needed to avoid unnecessary

expense and delay by quickly addressing the constitutional validity of an

underlying governmental action in important cases. In Harris, supra, this Court

underscored that “substantial considerations of fairness or [judicial] efficiency” are




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factors which militate in its favor.      Gilda Marx, supra, 85 F.3d at 678-679

(D.C.Cir. 1996), quoted in Harris, supra, 77 F.4th at 765.

       The Supreme Court holds the same. In Thornburgh, supra, the Supreme

Court approved the exercise of Pendent Appellate Jurisdiction to decide the

constitutional merits of an underlying governmental action where the issue

primarily on appeal concerned not the full merits of the case, but an abuse of

discretion in issuing a preliminary injunction. The Supreme Court in Thornburgh

pointed to its precedent approving the exercise of Pendent Appellate Jurisdiction

and quoted with approval its reasoning in its prior decision that “the Court of

Appeals had acted properly in deciding the [underlying] merits since review of

interlocutory appeals was designed not only to permit the defendant to obtain

immediate relief but also in certain cases to save the parties the expense of further

litigation.”   Thornburgh, supra, 476 U.S. at 756 (1986), paraphrasing with

approval Smith, supra, 165 U.S. at 525.

       That is the case here, and more. Here, review of the underlying indictment

not only will “save the parties the expense of further litigation,” Thornburgh,

supra, 476 U.S. at 756, but more importantly will potentially save the nation the

partisan torture and upheaval in a first-ever criminal trial of a past President arising

from his re-election efforts. Especially after the events of January 6, 2021, it is

difficult to imagine a more disastrous potential for the country’s political system


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(and for the Courts) than the brutal criminal trial of an ex-President under an

indictment that may turn out to be constitutionally invalid. There is no more

important function for this Court to perform than to address the constitutional

validity of the underlying indictment before the Appellant is put to trial under it.


              4.    The Exercise of this Court’s Pendent Appellate Jurisdiction to
                    Address the Constitutional Validity of the Underlying
                    Indictment Does Not Depend Upon the Existence of a District
                    Court Order Addressing the Indictment’s Validity or Invalidity


      There is no need to await an Order from the District Court concerning the

validity or invalidity of the underlying indictment. The Supreme Court has made

clear in several cases that, once an interlocutory appeal is properly before this

Court, this Court has the Pendent Appellate Jurisdiction to address in a dispositive

ruling the underlying validity of the case which raises an issue closely related to

the issue on appeal – even without awaiting a ruling by the District Court on the

validity or invalidity of the underlying indictment. This is appropriate here, and is

within this Court’s Pendent Appellate Jurisdiction, given the enormous importance

of this case and the need for a prompt dispositive appellate ruling on the

indictment.

      The Supreme Court’s cases supporting this approach are numerous.                 In

Thornburgh, supra, the Supreme Court approved the Circuit Court’s resolution of

the ultimate merits of the case in an appeal which involved only the issue of
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whether there was an abuse-of-discretion concerning the issuance of a preliminary

injunction. The District Court had never rendered an order addressing the ultimate

merits upon which the Court of Appeals nevertheless ruled. The Supreme Court

approved. 476 U.S. at 752-753.

      In Youngstown Sheet & Tube, supra, the Supreme Court resolved the

ultimate merits of the dispute and sustained a final injunction on the merits even

though the District Court’s order, and appeal from it, involved only a preliminary

injunction and the question of abuse-of-discretion in its issuance. 343 U.S. at 584

& 660.

      In Smith, supra, the Supreme Court reached a similar result, which it

expressly reaffirmed in Thornburgh, supra. The Supreme Court in Smith held that

“the Circuit Court of Appeals, upon appeal from the interlocutory decree of the

[trial] Court … had authority to consider and decide the case upon its merits, and

thereupon to render or direct a final decree dismissing the bill.” 165 U.S. at 525,

expressly approved in Thornburgh, supra, 476 U.S. at 756 (1986).

      The clear import of these cases is that an Order by the District Court on the

facial merit of the underlying indictment is not a prerequisite to this Court’s review

of the indictment on this interlocutory appeal. The inter-related nature of the issue

now on appeal and the issues involved in the underlying indictment show they are

“inextricably intertwined” and authorize the exercise of this Court’s Pendent


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Appellate Jurisdiction to address the indictment head on.              The overriding

importance of the pendent issues relating to the indictment and the First

Amendment clearly warrants the exercise of this Court’s Pendent Appellate

Jurisdiction to address the invalidity of the underlying injunction and to order its

dismissal. Thornburgh, supra; Smith, supra.


             5.    The Exercise of this Court’s Pendent Appellate Jurisdiction to
                   Address the Constitutional Validity of the Underlying
                   Indictment is Appropriate to Address Appellant’s Claim of
                   Presidential Immunity


      In the District Court, Appellant seeks dismissal of the indictment not only on

First Amendment grounds, but also on grounds of Presidential Immunity. At all

times relevant to the actions alleged in the indictment, Appellant was still the

sitting President and was engaged in his attempts to secure re-election in 2020 and

early 2021. The claim of Presidential Immunity, especially when coupled with

Appellant’s exercise of his First Amendment rights to challenge the election

results, warrants the exercise of this Court’s Pendent Appellate Jurisdiction for the

same reasons expressed above with regard to the First Amendment – and for an

additional reason peculiar to the claim of Presidential Immunity.

      Non-frivolous claims of Presidential Immunity are themselves immediately

appealable. Like other claims of litigation immunity, Presidential Immunity is not

merely a defense on the merits but is an immunity to litigation itself which forever
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would be lost unless enforceable and immediately appealable to prevent the

disputed litigation from continuing. Nixon v. Fitzgerald, 457 U.S. 731, 742-743

(1982). In Nixon the Supreme Court held that Presidents have absolute immunity

against civil damage claims arising from Presidential acts but also expressed the

need for Presidential Immunity in broad terms which apply to criminal charges as

well – that the denial of immunity would impair the President’s ability to function

as Chief Executive because it “would subject the President to trial on virtually

every allegation that an action was unlawful, or was taken for a forbidden

purpose.” Id., at 756.

      True, the Supreme Court in Nixon reaffirmed its prior holding that

Presidents have no general immunity from criminal processes. Id., at 753-754. But

that does not mean – nor did the Supreme Court hold – that the President has no

immunity whatsoever against any and all criminal accusations, regardless of how

far-flung they are. The same ability of the President to function – which gives the

President absolute immunity against civil damage claims – also requires that

Presidential speech within the “outer perimeter” of the Presidential function,

including his re-election efforts, not be made “criminal” upon the mere allegation

in an indictment that the President’s words were “knowingly false” or “improperly

motivated.” Otherwise, virtually every word uttered by a President, if disputed by

“information” from his adversaries, would subject the President to potential


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criminal liability for “knowingly false” utterances, whatever that means and

whatever criminal charges may flow from them.

      Yet this is precisely what the indictment alleges. While the indictment

details numerous communications by the President to set aside what he contends

was a fraudulent election – countered by the indictment’s citations to contrary

communications to him that he was allegedly wrong – the common theme and

central point of the indictment are its allegations that the President’s

communications were “knowingly false” (Indictment ¶ 7) and thereby criminal – as

part of an alleged conspiracy to “defraud the United States” (Count 1), or to

obstruct an official proceeding (Counts 2-3), or to deprive voters against him of

their right to vote (Count 4). Yet Presidential Immunity and the President’s ability

to perform ordinary Presidential functions – including communication with the

public and seeking re-election to continue his official policies – require a degree of

insulation and breathing space from criminal liability that cannot be so narrow and

fragile as to depend upon a case-by-case factual dispute over whether his speech

was “knowingly false.” Cf. Americans for Prosperity Foundation v. Bonta, supra,

141 S.Ct. at 2384 (2021) (“First Amendment freedoms need breathing space to

survive”); Keyishian v. Board of Regents, supra, 385 U.S. at 604 (1967) (“Because

First Amendment freedoms need breathing space to survive, government may

regulate in the area only with narrow specificity”). Presidential Immunity, to be


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effective, requires the same “breathing space,” especially where the disputed

Presidential actions are themselves speech arguably deserving of First Amendment

protection.

      Nixon v. Fitzgerald is instructive here. The concern for the Presidential

function which compelled absolute Presidential Immunity against civil damage

claims in Nixon v. Fitzgerald applies equally to the Presidential function when

challenged with the present type of criminal accusations. The Presidential function

includes communicating with the public and seeking re-election – and where

necessary challenging the election results – in order to implement and continue his

official policies. These important Presidential functions cannot be made to depend

upon so fickle and fragile a variable as a factual dispute over whether his speech

was “knowingly false.” Protection of the Presidential function requires more. The

need to protect the Presidential function under the umbrella of absolute Presidential

Immunity from civil damage claims in Nixon v. Fitzgerald applies equally to

criminal accusations which depend upon fickle factual disputes over whether

Presidential speech was “knowingly false.” For these types of criminal claims, the

protection of the Presidential function makes “it appropriate to recognize absolute

Presidential Immunity … for acts within the outer perimeter of his official

responsibility.” Nixon, 457 U.S. at 756.




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      This is not a partisan or one-sided issue. At least, it should not be. The

danger to the Presidency is obvious and potentially severe. What a left-wing

prosecutor today can turn into the criminal liability against a right-wing ex-

President for speech that was allegedly “knowingly false” can too easily be turned

around after the next Presidential election by a right-wing prosecutor alleging the

same against a left-wing ex-President. The political and institutional damage to the

Presidency – and to the nation the President is designed to serve – requires the

recognition of absolute Presidential Immunity for the acts alleged in the

indictment. For the sake of the Presidency and the nation, criminal liability cannot

turn on a mere factual dispute over whether an ex-President’s communications in

challenging an election were “knowingly false.”

   D. CONCLUSION

      This Court should direct the parties to brief the issues of this Court’s

Pendent Appellate Jurisdiction and whether the underlying indictment violates the

First Amendment and Presidential Immunity. Upon reaching these issues, this

Court should exercise its Pendent Appellate Jurisdiction and should dismiss with




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prejudice the underlying indictment as a violation of the First Amendment and/or

Presidential Immunity.


Dated: November 15, 2023
                                     Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I certify that on November 15, 2023 I caused the foregoing brief to be served

on counsel of record for all parties in this appeal by filing the foregoing brief with

this Court’s ECF system which then transmitted the foregoing brief to all counsel

of record in this appeal via this Court’s ECF system.


                                               /s/ Dennis Grossman
                                                   Dennis Grossman




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                     CERTIFICATE OF COMPLIANCE

      This document complies with the type-volume limit of Federal Rule of

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                                             /s/ Dennis Grossman
                                                 Dennis Grossman




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